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12      to Insurance Company of North America,
        Pacific Indemnity Company, and
13      Westchester Fire Insurance Company as successor
        in interest to Industrial Underwriters Insurance
14      Company for policies JU835-8355 and JU895-0964
15      (additional counsel listed on signature page)
16
                                  UNITED STATES BANKRUPTCY COURT
17                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
18
        In re:                                           Case No. 23-30564
19
        The Roman Catholic Archbishop of San             Chapter 11
20      Francisco,
                                                         THIRD NOTICE OF CONTINUED
21                         Debtor and                    HEARING ON CERTAIN INSURERS’
                           Debtor in Possession.         MOTION FOR RELIEF FROM
22                                                       AUTOMATIC STAY TO PERMIT
                                                         CALIFORNIA COVERAGE ACTION TO
23                                                       CONTINUE

24                                                       Original Date
                                                         Judge:       Hon. Dennis Montali
25                                                       Date/Time: January 11, 2024, 1:30 p.m.
                                                         Place:       Via ZoomGov
26
                                                         Continued Date
27                                                       Judge:     Hon. Dennis Montali
                                                         Date/Time: January 25, 2024, 1:30 p.m.
28                                                       Place:      Via ZoomGov


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 1             TO THE HONORABLE DENNIS MONTALI, UNITED STATES BANKRUPTCY

 2      JUDGE, THE UNITED STATES TRUSTEE, THE DEBTOR, AND ALL CREDITORS

 3      AND PARTIES IN INTEREST:

 4             PLEASE TAKE NOTICE that the hearing (the “Hearing”) to consider Certain Insurer’s

 5      Motion for Relief from Automatic Stay to Permit the California Coverage Action to Continue

 6      [Docket Nos. 251, 255] (the “Motion”)1 that was previously scheduled for January 11, 2024 at

 7      1:30 p.m. has been continued and will be conducted via videoconference on January 25, 2024 at

 8      1:30 p.m. before the Honorable Dennis Montali, United States Bankruptcy Judge. Counsel to the

 9      Debtor has consented to continuance of the Hearing.

10             PLEASE TAKE FURTHER NOTICE that by this Motion, the Insurers seek to lift the

11      automatic stay to allow a pending state-court coverage action (the “California Coverage Action”)

12      to proceed in order to provide guidance and certainty as on to the extent of the Insurers’ coverage

13      obligations, if any, for claims brought by survivors of childhood sexual abuse under the California

14      Child Victims Act against the Archdiocese.

15             PLEASE TAKE FURTHER NOTICE that the deadline for the Insurers to file and serve

16      a reply to oppositions to the Motion is now January 18, 2024.

17             PLEASE TAKE FURTHER NOTICE that copies of the Motion and its supporting

18      papers can be viewed and/or obtained: (i) by accessing the Court’s website at

19      http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450 Golden

20      Gate Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims agent, Prime

21      Clerk LLC, at http://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for

22      U.S.-based parties; or +1 (929) 333-8977 for International parties or by e-mail at:

23      pginfo@primeclerk.com. Note that a PACER password is needed to access documents on the

24      Bankruptcy Court’s website.

25

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        1
          Capitalized terms used but not defined herein shall have the meanings ascribed thereto in the
28      Motion.

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 1                                                 Respectfully submitted,

 2      Dated: January 3, 2024
 3                                                 /s/ Pierce A. MacConaghy
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                                                   America, Pacific Indemnity Company, and
20                                                 Westchester Fire Insurance Company as
                                                   successor in interest to Industrial Underwriters
21                                                 Insurance Company for policies JU835-8355
                                                   and JU895-0964
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